                                      CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                  Before the Honorable Karen B. Molzen

                                                Arraignment

Case Number:       18-CR-2426 WJ                    UNITED STATES vs. CAPEHART

Hearing Date:      8/2/2018                         Time In and Out:           9:40 am – 9:42 am

Clerk:             Kim                              Courtroom:                 Rio Grande

Defendant:         Daniel Capehart                  Defendant’s Counsel:       Amy Sirignano

AUSA               Peter Eicker                     Pretrial/Probation:        S. Avila-Toledo

Interpreter:
PROCEEDINGS
☐      Defendant sworn

☐      First Appearance by Defendant

☒      Defendant received a copy of charging document

☒      Defendant questioned re: time to consult with attorney regarding penalties

☒      Defendant waives reading of Indictment

☒      Defendant enters a Not Guilty plea

☒      Motions due by: August 22, 2018

☒      Discovery Order electronically entered        ☐   Discovery Order previously entered

☒      Case assigned to: Chief Judge Johnson

☒      Trial will be scheduled by presiding judge    ☐   Trial currently set
Custody Status
☐      Defendant waives detention hearing

☐      Defendant
       Conditions of release previously imposed
☒
       remain in effect
Other
☐
